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                                UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig Deepwater Horizon
in the Gulf of Mexico, on April 20, 2010,                     MDL NO. 2179

                                                              Case No. 2:11‐CV‐03180
THANH HAI, INC.; TONY NGUYEN; KHANG VAN
DANG, and the more than 700 persons named                     SECTION: J
herein,
                                                              Judge Barbier
                        Plaintiffs,                           Magistrate Judge Shushan
vs.

BP AMERICA PRODUCTION COMPANY; BP
EXPLORATION AND PRODUCTION, INC.;
ANADARKO PETROLEUM CORPORATION;
MOEX OFFSHORE 2007, LLC; MOEX USA
CORPORATION; MITSUI OIL EXPLORATION CO.,
LTD.; TRANSOCEAN HOLDINGS LLC; TRITON
ASSET LEASING GMBH; TRANSOCEAN
DEEPWATER, INC.; TRANSOCEAN OFFSHORE
DEEPWATER DRILLING, INC.; TRANSOCEAN
LTD.; CAMERON INTERNATIONAL
CORPORATION F/K/A COOPER‐CAMERON
CORPORATION; HALLIBURTON ENERGY
SERVICES, INC.; M‐I, LLC, WEATHERFORD U.S.
L.P.,

                        Defendants.


_________________________________________________________________________________________________________

                        LOCAL RULE 7.6 CERTIFICATE OF COMPLIANCE
_________________________________________________________________________________________________________

        In accord with Rule 7.6 of the Local Civil Rules of the United States District Court

for the Eastern District of Louisiana, undersigned counsel conferred with Val Patrick
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Exnicios, counsel for Raymond S. Vath, Rebecca Winkler Vath, and Brian Jacob Winkler,

on June 14, 2012, and there was no objection to the filing of the Motion and

Incorporated Memorandum in Support of Motion for Leave to File Complaint for

Intervention.


Date: June, 2012.


                                 RESPECTFULLY SUBMITTED:
                                 BY: /s/ Stephen S. Kreller_______________

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                               Facsimile: 662‐728‐1992

                         ATTORNEYS FOR PLAINTIFFS
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                                    CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Motion and Incorporated Memoranda

in Support of Motion for Leave to File Complaint for Intervention has been served on All

Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance with

Pretrial Order No. 12, and that the foregoing was electronically filed with the Clerk of Court

of the United States District Court for the Eastern District of Louisiana by using the CM/ECF

System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, on this 14th day of June, 2012.


                                    /s/ Stephen S. Kreller_______________
